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       Mesa, Arizona 85201
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       Email: centraldocket@jacksonwhitelaw.com
   6   Attorneys for Debtor Marsh Aviation Company
       By:    Kelly G. Black, No. 016376
   7          John Skiba, No. 022699
   8                             UNITED STATES BANKRUPTCY COURT
   9                                         DISTRICT OF ARIZONA
  10
       In re:                                               No. 2:09-bk-23468-CGC
  11
       Marsh Aviation Company,                              Application for Interim Payment and
  12                                                        Compensation of Attorney Fees and Costs
          Debtor.                                           and For Order and Judgment Thereon
  13                                                        (Third Application)
  14                                                        Assigned to: Honorable Charles G. Case, II
  15            Jackson White, P.C., a professional corporation (hereinafter “Applicant”), counsel for
  16   Marsh Aviation Company, (hereinafter “Debtor-in-Possession”), hereby makes its Application
  17   for Interim Payment and Compensation of Attorney Fees and Costs and for Order and Judgment
  18   Thereon (Third Application) (hereinafter “Application”).
  19            In support of its Application, Applicant submits its time records for the period of
  20   September 28, 2010 through July 13, 2011 (hereinafter “Application Period”), attached hereto as
  21   Exhibit “A” and incorporated herein by reference. Applicant’s cost records (including an
  22   itemization of expenses incurred) for the same period is likewise attached hereto as Exhibit “B”
  23   and incorporated herein by reference. In further support of its Application, Applicant
  24   respectfully represents as follows:
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Case 2:09-bk-23468-DPC         Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                 Desc     Page 1
                                Main Document    Page 1 of 25
   1   I.     Summary
   2          A.        Background

   3          1.        On September 22, 2009, Debtors in the above-captioned case filed a petition for

   4   relief under Chapter 11 of the United States Bankruptcy Code. The case is currently pending

   5   before this Court as a case under Chapter 11.

   6          2.        This Court entered its order approving appointment Applicant as counsel through

   7   an Interim Order Approving Appointment of Counsel entered on October 6, 2009, and a final

   8   Order Approving Appointment of Counsel entered on November 30, 2009.

   9          3.        Applicant has served as the duly appointed counsel for Debtors-in-Possession in

  10   the above entitled estate up to and through the filing of this Application. Applicant was

  11   employed by the Debtors-in-Possession to perform actual and necessary services with the

  12   understanding that Applicant’s compensation would be as determined by the Court under the

  13   criterion set forth in 11 U.S.C. § 330 of the Bankruptcy Code, including the cost of comparable

  14   services other than a case under the Bankruptcy Code.

  15          4.        By order entered December 11, 2009, this Court approved Applicant’s first

  16   Application for fees and costs, covering the time period from September 22, 2009 through

  17   November 16, 2009. Applicant sought, and the Court approved, fees and costs in the total sum

  18   of $13,323.04.

  19          5.        By order entered January 25, 2011, this Court approved Applicant’s first

  20   Application for fees and costs, covering the time period from November 17, 2009 through

  21   September 27, 2010. Applicant sought, and the Court approved, fees and costs in the total sum

  22   of $18,009.26.

  23          6.        During the Application period (September 28, 2010 through July 13, 2011),

  24   Applicant spent 121.15 hours in its representation of Debtor-in-Possession. Based upon

  25   Applicant’s ordinary hourly rates in effect at the time said services were rendered, Applicant’s

  26   total fees are $30,717.25.

  27          7.        In addition to the foregoing, Applicant incurred out-of-pocket expenses for which

  28   Applicant is seeking reimbursement in the total amount of $928.31.
Case 2:09-bk-23468-DPC         Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32               Desc    Page 2
                                Main Document    Page 2 of 25
   1          8.      Total fees and costs are $31,645.56, to be paid by Marsh Aviation Company as
   2   agreed under the terms of the Retainer Agreement between Debtor and Applicant.
   3          9.      The services for which compensation is requested were rendered on behalf of the
   4   Debtors-in-Possession and compensation is sought pursuant to 11 U.S.C. § 330(a), 331, and
   5   503(a) and (b), Rule 2016(a), Fed. R. Bankr. P., and in compliance with the Order Appointing
   6   Counsel and the Guidelines of the Office of the United States Trustee for the District of Arizona.
   7          10.     Except as Applicant may be entitled to receive compensation herein, Applicant
   8   has no arrangements with any other parties whatsoever to pay Applicant for the services of
   9   Applicant to the estate, nor has Applicant received any funds from any parties whatsoever for the
  10   services rendered to the estate. Further, Applicant has not made any arrangement to share any
  11   compensation received by order of this Court with any party whatsoever, nor does Applicant
  12   have any arrangements for sharing of compensation herein awarded, except between members
  13   and/or regular associates of Applicant’s firm. Applicant has no agreement to share compensation
  14   received or to be received with any person other than the normal division of fees that, as a matter
  15   of course, occurs between attorneys who are members of Applicant’s firm. Applicant is a
  16   disinterested person defined in 11 U.S.C.§ 101(14) and does not hold or represent any interest
  17   adverse to the estate.
  18          11.     The names of all Applicant’s professionals and paraprofessionals requesting fees
  19   and the hourly rate charged by each is as follows:
  20                  Professional                          Rate
  21                  John N. Skiba                         $295.00
  22                  Kelly G. Black                        $295.00
  23                  Otto S. Shill                         $300.00
  24                  Roger R. Foote                        $300.00
  25                  Terri Thompson                        $125.00
  26                  Ashley Preach                         $125.00
  27

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Case 2:09-bk-23468-DPC          Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32              Desc    Page 3
                                 Main Document    Page 3 of 25
   1           B.     Case Status

   2           1.     Applicant is aware of no other Application for Administrative Expense pending at

   3   this time.

   4           2.     Since the filing of the second Application for Interim Payment and Compensation,

   5   Debtor mailed the previously-approved Disclosure Statement with ballots; solicited votes for its

   6   Plan of Reorganization; resolved by stipulation concerns expressed by Atwood Enterprises

   7   regarding the treatment of its secured claim; responded to objections by the Official Committee

   8   of Unsecured Creditors (the “Committee”); attended an original and two continued hearings on

   9   plan confirmation; prepared an amended Plan; negotiated and executed a stipulation with the

  10   Committee for confirmation of the amended Plan; secured confirmation of the Plan; and

  11   provided notice to creditors of the relevant hearings and stipulations.

  12           3.     All quarterly fees have been paid to the United States Trustee and all monthly

  13   operating reports have been filed. Any United States Trustee’s fees which have not been paid

  14   and any monthly operating reports which have not been filed are anticipated to be paid and filed

  15   promptly.

  16           C.     Project Category Summaries

  17           The professional services provided by Applicant, and their corresponding fees, are

  18   summarized in the following sections.

  19                  1.      Case Administration

  20           Applicant has performed the following services: Review and filing of operating reports;

  21   maintenance of the creditor mailing matrix.

  22           This project category is of an ongoing nature.

  23           The foregoing services were necessary and conferred a benefit to the estate for the reason

  24   that the Code requires a Debtor-in-Possession to perform these duties.

  25           The persons providing services on the foregoing project were Kelly G. Black, and Terri

  26   Thompson.

  27           The following table summarizes the number of hours spent and the amount of

  28   compensation requested for each professional and paraprofessional for the foregoing project:

Case 2:09-bk-23468-DPC        Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32               Desc      Page 4
                               Main Document    Page 4 of 25
   1                Project Category   B110     Case Administration

   2
                    Professional       Hours                    Rate                      Fee
   3
                    Kelly G. Black        0.6                  295.00                177.00
   4
                    Terri Thompson        5.2                  125.00                650.00
   5
                    Total for B110        5.8                  142.59                827.00
   6

   7                  2.      Meetings and Communications With Creditors
   8          Applicant communicated with creditors and other parties in interests as required by the
   9   Bankruptcy Code.
  10          This project category is of an ongoing nature.
  11          The foregoing services were necessary and conferred a benefit to the estate for the reason
  12   that the Code requires a Debtor-in-Possession to perform these duties.
  13          The persons providing services on the foregoing project were Kelly G. Black, Ashley
  14   Preach, and Terri Thompson.
  15          The following table summarizes the number of hours spent and the amount of
  16   compensation requested for each professional and paraprofessional for the foregoing project:
  17                Project Category   B150     Meetings and Communications w/Creditors
  18
                    Professional       Hours                    Rate                      Fee
  19
                    Ashley Preach         0.5                  125.00                 56.25
  20
                    Kelly G. Black        0.7                  295.00                206.50
  21
                    Terri Thompson        0.8                  125.00                100.00
  22

  23                Total for B150        2.0                  186.03                362.75

  24
                      3.      Fee/Employment Applications
  25
              During the Application period (September 28, 2010 to July 13, 2011), the Applicant
  26
       submitted and secured approval of an interim fee application covering the time period from
  27
       November 17, 2009 through September 27, 2010. In addition, the Applicant reviewed the
  28
Case 2:09-bk-23468-DPC        Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                  Desc   Page 5
                               Main Document    Page 5 of 25
   1   application for appointment of counsel for the Committee, and assisted Debtor in securing
   2   counsel in the pending criminal proceedings.
   3            This project category will recur, but no further fee application will be filed for the time
   4   period from November 17, 2009 through September 27, 2010.
   5            The foregoing services were necessary and conferred a benefit to the estate for the reason
   6   that the Code requires fees to be approved by the Court.
   7            The persons providing services on the foregoing project were Kelly G. Black and Otto S.
   8   Shill.
   9            The following table summarizes the number of hours spent and the amount of
  10   compensation requested for each professional and paraprofessional for the foregoing project:
  11                 Project Category     B160    Fee/Employment Applications
  12
                     Professional         Hours                    Rate                      Fee
  13
                     Kelly G. Black         6.2                  295.00                 1,829.00
  14
                     Otto S. Shill          0.8                  300.00                   240.00
  15
                     Total for B160         7.0                  295.57                 2,069.00
  16

  17                   4.       Avoidance Action Analysis
  18            During the Application period, the Applicant reviewed records of transactions within the
  19   90 days and one year prior to the Petition Date to determine whether there were any potentially
  20   viable avoidance actions.
  21            This project category is ongoing.
  22            The foregoing services were necessary and conferred a benefit to the estate for the reason
  23   that the preservation of potential avoidance actions was requested by the Committee in the event
  24   Debtor is unable to make the payments anticipated by the Plan.
  25            The person providing services on the foregoing project was Kelly G. Black.
  26

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Case 2:09-bk-23468-DPC          Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                   Desc   Page 6
                                 Main Document    Page 6 of 25
   1          The following table summarizes the number of hours spent and the amount of
   2   compensation requested for each professional and paraprofessional for the foregoing project:
   3                Project Category   B180       Avoidance Action Analysis

   4
                    Professional       Hours                       Rate                   Fee
   5
                    Kelly G. Black          3.0                  295.00               885.00
   6
                    Total for B180          3.0                  295.00               885.00
   7

   8                  5.      Financing
   9          During the Application period, the Applicant investigated whether Brazil’s concerns
  10   about diversion of its funds to pre-petition creditors could be addressed by a pre-confirmation
  11   motion for approval of financing. Brazil requested that its concerns be addressed instead by
  12   confirmation of the Plan with such provisions in the Plan or confirmation order.
  13          This project category is concluded.
  14          The foregoing services were necessary and conferred a benefit to the estate for the reason
  15   that addressing the legitimate concerns of Debtor’s principal source of future income was critical
  16   to Debtor’s continued operation.
  17          The person providing services on the foregoing project was Kelly G. Black.
  18          The following table summarizes the number of hours spent and the amount of
  19   compensation requested for each professional and paraprofessional for the foregoing project:
  20                Project Category      B230    Financing/Cash Collections
  21

  22                Professional       Hours                       Rate                   Fee

  23                Kelly G. Black          1.3                  295.00               383.50

  24                Total for B230          1.3                  295.00               383.50

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Case 2:09-bk-23468-DPC        Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                  Desc   Page 7
                               Main Document    Page 7 of 25
   1                  6.       Balloting, Plan Confirmation, and Negotiations for Plan Confirmation

   2          During the Application period, the Applicant mailed the previously-approved Disclosure

   3   Statement with ballots; solicited votes for its Plan of Reorganization; resolved by stipulation

   4   concerns expressed by Atwood Enterprises regarding the treatment of its secured claim;

   5   responded to objections by the Committee; attended an original and two continued hearings on

   6   plan confirmation; prepared an amended Plan; negotiated and executed a stipulation with the

   7   Committee for confirmation of the amended Plan; secured confirmation of the Plan; and

   8   provided notice to creditors of the relevant hearings and stipulations.

   9          The foregoing services were necessary and conferred a benefit to the estate for the reason

  10   that these issues were required to be resolved to accomplish plan confirmation.

  11          The persons providing services on the foregoing project were John N. Skiba, Kelly G.

  12   Black, Otto S. Shill, Roger R. Foote, and Terri Thompson.

  13          The following table summarizes the number of hours spent and the amount of

  14   compensation requested for each professional and paraprofessional for the foregoing project:

  15                Project Category    B320     Plan/Disclosure Statement

  16
                    Professional        Hours                    Rate                     Fee
  17
                    John Skiba             0.5                 295.00                  147.50
  18
                    Kelly G. Black        75.5                 295.00               22,272.50
  19
                    Otto S. Shill          2.6                 300.00                  780.00
  20
                    Roger R. Foote         0.3                 300.00                    90.00
  21
                    Terri Thompson        23.2                 125.00                2,900.00
  22

  23                Total for B320      102.1                  256.51               26,190.00

  24
              D.      Summary of Costs
  25
              The costs for which Applicant seeks reimbursement total $928.31. These expenses
  26
       involve photocopies, postage, mileage and parking expenses. The amount charged by Applicant
  27
       for in-house photocopies is 15 cents per sheet. Postage is charged at actual cost. During the
  28
Case 2:09-bk-23468-DPC         Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                  Desc    Page 8
                                Main Document    Page 8 of 25
   1   application period, Applicant primarily used an outside provider for copying and mailing to
   2   creditors, which is able to charge less for copying and mailing than it costs Applicant to perform
   3   the same work in-house. All costs from this and other outside providers are charged at
   4   Applicant’s actual cost.
   5          The amount Applicant has disbursed for actual and necessary expenses in connection
   6   with the estate are summarized and itemized on the attached Exhibit “B.”
   7   II.    Standards for Evaluating Fee Application
   8          The fees billed by Applicant to the Debtors-in-Possession for professional services
   9   rendered during the application period total $30,717.25. In accordance with 11 U.S.C. § 330,
  10   this amount was calculated using the hourly rate for the attorneys involved. See also In re
  11   Yermakov, 718 F.2d 1465, 1471 (9th Cir. 1983). This has also been referred to as the “lodestar”
  12   or basic fee which, if warranted, can be adjusted upward or downward. In that regard, the Ninth
  13   Circuit in Yermakov made specific references to Johnson v. Georgia Highway Express, Inc., 488
  14   F.2d 714, 717-19 (5th Cir. 1974), in which the Fifth Circuit listed twelve factors which should be
  15   considered in awarding attorneys’ fees. These “Johnson factors” have been referred to and
  16   utilized by many courts in considering and awarding attorney’s fees in bankruptcy cases. See In
  17   re Nucorp Energy, Inc., 764 F.2d 655 (9th Cir. 1985).
  18          In a decision of the Ninth Circuit Bankruptcy Appellate Panel, the Panel concluded that
  19   the “lodestar” approach, coupled with consideration of the “Johnson factors” is the appropriate
  20   standard to be applied in awarding fees in a bankruptcy case. See In re Powerine Oil Co., 71
  21   Bankr. 767 (Bankr. 9th Cir. 1986).
  22          During the Application Period, Applicant has advised the Debtor-in-Possession in
  23   connection with the administration of the above-entitled estate on an ongoing basis and has
  24   prepared numerous letters, documents, pleadings, and other writings concerning same and has
  25   attended conferences, hearings and made other appearances for and on behalf of the Debtor-in-
  26   Possession and has performed numerous legal services for and on behalf of the Debtor-in-
  27   Possession, which services are itemized on the attached Exhibit “A,” constituting Applicant’s
  28   time records concerning the above-entitled estate.
Case 2:09-bk-23468-DPC        Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                Desc     Page 9
                               Main Document    Page 9 of 25
   1           Applicant has maintained daily record reflecting the actual and necessary time expended
   2   by said law firm in the performance of the services for which compensation is herein sought.
   3   These time records are presented to be merely a resume of the overall services performed by
   4   Applicant and do not purport to include each and every service performed, nor are they
   5   represented to constitute a limit of the time expended in this case, for undoubtedly there are
   6   numerous services for which time was not recorded. However, the records do indicate the
   7   general nature of the services performed and the absolute minimum time actually expended for
   8   consideration as one of the criterion set forth in 11 U.S.C. §330 for the time period from
   9   November 17, 2009 through September 27, 2010.
  10           The results obtained by Applicant within the time frames of this Application illustrate
  11   that the Applicant:
  12           1.      Used the skill required to perform the legal services properly;
  13           2.      Provided services necessary to the administration of the case; and
  14           3.      Performed the services within a reasonable amount of time commensurate with
  15   the complexity, importance and nature of each task.
  16           Furthermore, based upon the results obtained by Applicant within the time frame of this
  17   Application and the rates charged by the Applicant for the services performed, the compensation
  18   requested is reasonable based on the customary compensation charged by comparably skilled
  19   practitioners in non-bankruptcy cases.
  20           There are no cash collateral issues regarding the source of funds from which Applicant
  21   intends to be paid.
  22           The Debtor-in-Possession is current on payments to the United States Trustee and has
  23   timely filed its interim financial reports.
  24   III.    Conclusion
  25           Wherefore, Kelly G. Black and Jackson White, P.C., pray that Applicant be awarded an
  26   interim allowance, pursuant to 11 U.S.C. § 331, as attorney for Debtor-in-Possession in the
  27   amount of $30,717.25, together with reimbursement for actual and necessary costs expended in
  28   the amount of $928.31, for a total award of $31,645.56, all subject to review and adjustment for
Case 2:09-bk-23468-DPC         Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                Desc     Page 10
                               Main Document    Page 10 of 25
   1   determination of reasonable compensation based upon criteria set forth in 11 U.S.C. § 330 and
   2   for such other and further relief as the Court deems equitable.
   3            Based upon the foregoing, Applicant respectfully requests:
   4            A.        Allowance and approval of its fees for the Application Period totaling $30,717.25,
   5   which will be paid by Debtor;
   6            B.        Reimbursement of $928.31 in actual and necessary expenses, which Applicant has
   7   incurred and paid during the Application Period in connection with the rendering of such
   8   professional services, for a total award of $31,645.56;
   9            C.        For a Judgment against Marsh Aviation Company for the total award in the sum
  10   of $31,645.56; and
  11            D.        Such other and further relief as this Court deems just and proper.
  12            DATED this 14th day of July, 2011.

  13                                                       JACKSON WHITE

  14
                                                           /s/ Kelly G. Black
  15                                                       Attorneys for Debtor Marsh Aviation Company
                                                           By: Kelly G. Black, No. 016376
  16                                                            John Skiba, No. 022699

  17   COPIES served electronically as follows:

  18   RICHARD J. CUELLAR on behalf of U.S. Trustee U.S. TRUSTEE
       ric.j.cuellar@usdoj.gov, coleen.craig@usdoj.gov;connie.s.hoover@usdoj.gov
  19
       GE Money Bank
  20   c/o Recovery Management Systems Corp.
       claims@recoverycorp.com
  21
       MARK A. TUCKER on behalf of Creditor Leland Dean
  22   mark.tucker@azbar.org

  23   BRYAN A. ALBUE on behalf of Creditor Committee THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS
  24   balbue@shermanhoward.com, balbue@shermanhoward.com;efiling@shermanhoward.com

  25
       /s/ Kelly G. Black
  26   13248-021\397510.docx


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Case 2:09-bk-23468-DPC           Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32               Desc   Page 11
                                 Main Document    Page 11 of 25
                               Exhibit A

Case 2:09-bk-23468-DPC   Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32   Desc
                         Main Document    Page 12 of 25
Project Category B110            Case Administration
 Date        Init. Narrative                                                        Hours Rate Discount Net Fee
 10/8/2010 KGB Review Operating Report for September 2010 and direct                  0.1 295.00   0.00  29.50
                   filing
 11/3/2010 TT Scan and efile October 2010 Operating Report; telephone                 0.5 125.00   0.00     62.50
                   call from Beverly Roberson concerning Ballot confusion;
                   review filed Operating Report.
 11/4/2010 TT Prepare letter with copy of October Operating Report for                0.3 125.00   0.00     37.50
                   Trustee.
 12/7/2010 KGB Receive and review operating report; Direct filing of same             0.1 295.00   0.00     29.50
 12/17/2010 TT Prepare, scan and e-file November Operating Report;                    0.6 125.00   0.00     75.00
                   prepare letter to Trustee with copy of same.
 1/5/2011 KGB Receive and review operating report and direct filing of                0.1 295.00   0.00     29.50
                   same
 1/5/2011 TT Receive and review December 2010 Operating Report.                       0.3 125.00   0.00     37.50
 1/6/2011 TT Scan and prepare to efile December 2010 Operating                        0.3 125.00   0.00     37.50
                   Report
 1/27/2011 TT Conference with Mr. Black to review various Certificates                0.5 125.00   0.00     62.50
                   of Service and related documents.
 2/4/2011 TT Receive and review Marsh Aviation Operating for January                  0.5 125.00   0.00     62.50
                   2011; scan and efile same.
 3/13/2011 TT Consult with Mr. Black on e-filing February Operating                   0.7 125.00   0.00     87.50
                   Report; scan and prepare to e-file same; prepare and mail
                   letter to Trustee with copy of same.
 4/8/2011 TT Scan and e-file March 2011 Operating Report. Prepare                     0.7 125.00   0.00     87.50
                   letter to attach copy for Trustee.
 6/9/2011 KGB Review and file operating report                                        0.1 295.00   0.00    29.50
 7/12/2011 TT Prepare Change of Address form for Ed Allen's new                       0.8 125.00   0.00   100.00
                   address; prepare letter with form and mail to Mr. Allen for
                   signature and return for filing; update ECF mailing matrix for
                   same; advise Mr. Black of same; scan and e-e-file June
                   2011 Operating Report; send copy of same to Mr. Cuellar
                   with cover letter and copy to Mr. Allen for same.
 7/12/2011 KGB Follow up on change of Ed Allen's address                              0.1 295.00   0.00    29.50
 7/12/2011 KGB Follow up on filing of operating report                                0.1 295.00   0.00    29.50
         Total for B110                                                               5.8 142.59   0.00   827.00
Project Category B150           Meetings and Communications w/Creditors
 Date        Init. Narrative                                                        Hours Rate Discount Net Fee
 10/18/2010 TT Receive voice message from Derek Gwee with updated                     0.5 125.00   0.00  62.50
                     mailing address; advise Mr. Black of same.
 10/19/2010 TT Telephone call from one of the Creditors to advise new                 0.3 125.00   0.00     37.50
                     address; advise Mr. Black of same; resend corrected
                     documents to Mr. Jump for mailing. Telephone calls to and

                                                                                                          Page: 1
      Case 2:09-bk-23468-DPC            Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32             Desc
                                        Main Document    Page 13 of 25
                     from Mr. Gwee to update address; check court matrix for
                     same.
 11/5/2010 AP Spoke with Beverly Roberson regarding the ballots she                    0.3 125.00   0.00     31.25
                     needs to complete and submit to our office. Discussed the
                     issue with Mr. Black.
 11/8/2010 AP Spoke with employee, Jeffrey Jensen regarding Class 1 and                0.2 125.00   0.00     25.00
                     Class 6 ballots; Identified Disclosure Statement sections
                     addressing Classes 1 and 6
 4/26/2011 KGB Voice message from Linda Ross of Spectrum Associates,                   0.3 295.00   0.00     88.50
                     creditor (0.10); Confirm lack of legal representation (0.10);
                     Telephone call to Ms. Ross (away from office) and draft
                     e-mail to same (0.10)
 5/9/2011 KGB Telephone call from Alex Rodriguez regarding latest notice;              0.4 295.00   0.00   118.00
                     Telephone call to same regarding plan, Marsh's desire for
                     votes; Telephone call to Floyd regarding call (left message
                     requesting return call)
         Total for B150                                                                2.0 186.03   0.00   362.75
Project Category B160             Fee/Employment Applications
 Date        Init. Narrative                                                         Hours Rate Discount Net Fee
 9/28/2010 KGB Draft second interim fee application                                    4.6 295.00   0.00 1357.00
 9/29/2010 KGB Draft notice of filing fee application (0.30); Check for new            0.9 295.00   0.00 265.50
                     appearances and confirm mailing list (0.20); File and direct
                     service of Motion and Notice (0.40)
 11/9/2010 OSS Place calls regarding criminal counsel                                  0.8 300.00   0.00   240.00
 12/9/2010 KGB Draft and file Certificate of Service and No Objections                 0.5 295.00   0.00   147.50
                     (0.20); Draft, upload and lodge Order (0.30)
 2/2/2011 KGB Receive and review ORDER Granting Application to                         0.1 295.00   0.00     29.50
                     Employ counsel for creditors committee
 7/5/2011 KGB Review ORDER Confirming Chapter 11 Plan for                              0.1 295.00   0.00     29.50
                     administrative claims deadline
         Total for B160                                                                7.0 295.57   0.00 2069.00
Project Category B180             Avoidance Action Analysis
 Date        Init. Narrative                                                         Hours Rate Discount Net Fee
 4/5/2011 KGB Conference with Floyd regarding potential preferences                    0.3 295.00   0.00  88.50
 4/25/2011 KGB Analyze potential avoidance actions                                     2.1 295.00   0.00 619.50
 4/27/2011 KGB Continue preference analysis                                            0.6 295.00   0.00 177.00
         Total for B180                                                                3.0 295.00   0.00 885.00
Project Category B230             Financing/Cash Collections
 Date        Init. Narrative                                                         Hours Rate Discount Net Fee
 9/28/2010 KGB Telephone call from Dave Colby regarding Brazil's desire                0.5 295.00   0.00 147.50
                     for assurance that its funding of Marsh Aviation is directed
                     to administrative and program expenses (0.20); Begin draft
                     of motion for approval of same (0.30)

                                                                                                           Page: 2
      Case 2:09-bk-23468-DPC             Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32             Desc
                                         Main Document    Page 14 of 25
 10/6/2010 KGB Voice message from Floyd regarding letter to Brazillian                0.2 295.00      0.00     59.00
                     Navy (0.10); Receive and review Colby letter (0.10)
 10/14/2010 KGB Telephone conferences with Dave Colby, Ed Allen                       0.6 295.00      0.00   177.00
                     regarding contract with Brazil (0.50); Forward petition and
                     schedules to Dave Colby for conflict review (0.10)
         Total for B230                                                               1.3 295.00      0.00   383.50
Project Category B320             Plan/Disclosure Statement (including bus
 Date        Init. Narrative                                                        Hours     Rate Discount Net Fee
 9/29/2010 TT Continue review of Claims for balloting                                 0.4   125.00     0.00  50.00
 9/30/2010 TT Work on claims for balloting                                            0.4   125.00     0.00  50.00
 10/1/2010 TT Work on Plan Claims.                                                    1.7   125.00     0.00 212.50
 10/7/2010 TT Conference with Mr. Black to review draft Ballots and                   1.7   125.00     0.00 212.50
                     Disclosure Statement.
 10/7/2010 KGB Conduct extensive review of Proof of Claims, claims                    1.6 295.00      0.00   472.00
                     register, and schedules to complete addresses for mailing of
                     ballots; Provide additional direction regarding same
 10/12/2010 TT Work on revisions to mailing list for ballots and disclosure           1.8 125.00      0.00   225.00
                     statement.
 10/14/2010 TT Telephone call to Ed Allen to discuss the shareholders                 0.3 125.00      0.00     37.50
                     shares; input new information into addresses for Class 7
                     Claims.
 10/18/2010 TT Confer with Mr. Black on emailing Ballots, Disclosure and              1.1 125.00      0.00   137.50
                     mailing lists to Mr. Jump; work on sending same.
 10/18/2010 KGB Final review of ballot mailing lists (0.80); Review and               1.0 295.00      0.00   295.00
                     correct mailing instructions (0.20)
 10/19/2010 TT Work on corrections to Ballots and mailing list.                       0.5   125.00    0.00     62.50
 10/19/2010 KGB Follow up on ballot mailings and corrections                          0.3   295.00    0.00     88.50
 10/20/2010 KGB Follow up on balloting (mailing completed yesterday)                  0.1   295.00    0.00     29.50
 10/28/2010 JNS Conference with Ms. Preach regarding federal indictment               0.3   295.00    0.00     88.50
                     and potential effect on feasibility
 10/28/2010 OSS Meetings with John Skiba and Kelly Black regarding                    1.0 300.00      0.00   300.00
                     federal indictment issued; call to Ed Allen regarding same.
 10/29/2010 JNS Telephone call to client regarding strategy in connection             0.2 295.00      0.00     59.00
                     with plan and indictment
 11/1/2010 OSS Meetings with Ed and Floyd regarding indictment.                       1.6 300.00      0.00   480.00
 11/5/2010 KGB Voice message from counsel for Atwood Enterprises;                     0.2 295.00      0.00    59.00
                     Telephone call to same (he will mark up plan)
 11/10/2010 KGB Review Atwood Enterprises' proposed changes to Plan and               3.3 295.00      0.00   973.50
                     telephone call to Marsh regarding same (unavailable)
                     (0.20); Draft e-mail to Mr. Weissman regarding requested
                     changes and alternative treatment of same (0.80);
                     Telephone call to Ed regarding proposed changes and my
                     proposed treatment of same (0.30); Draft e-mail to Ed and

                                                                                                             Page: 3
      Case 2:09-bk-23468-DPC            Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32                Desc
                                        Main Document    Page 15 of 25
                  Floyd regarding same (0.20); Research application of
                  disclosure rules to post-disclosure developments (0.80)
11/11/2010 TT     Obtain and email copies of Notice of Errata regarding          1.1 125.00     0.00   137.50
                  Marsh Aviation Company's Plan of Reorganization Dated
                  June 15, 2010; email copies to parties to receive ECF
                  filings; email Mr. Jump copy of document and request to
                  mail copies to all on master mailing matrix.; Telephone call
                  from Marvin Hook with American Certified Electronics
                  requesting to fax ballot to our office; advise Mr. Skiba of
                  same. Receive and review 2 separate faxed copies of the
                  ballot and information for same. Receive email from Mr.
                  Jump with copy of Certificate of Service and invoice for
                  same. E-file same.
11/11/2010 KGB Conference with William Walker regarding typo in plan and         5.3 295.00     0.00 1563.50
               disclosure statement; Draft Notice of Errata regarding same
               and review with Mr. Walker; File and deliver same (0.60);
               Research post-disclosure changes (1.00); Conference with
               Mr. Foote regarding same (0.20); Look up current prime
               rate and draft e-mail to Ed and Floyd regarding additional
               requested Atwood change relating to interest rate (0.20);
               Receive and review Ed's email and telephone conference
               with same approving interest rate (0.10); Telephone call to
               Mr. Weissman regarding same and send confirming e-mail
               (0.10); Prepare preliminary ballot report (1.00); Review
               Committee's Objection to Confirmation and provide
               item-by-item analysis to Floyd and Ed (2.10)
11/11/2010 RRF Conference with Mr. Black regarding recent issues of              0.3 300.00     0.00     90.00
               indictment and balloting issues [0.30]
11/12/2010 KGB Telephone conference with counsel for Committee (0.30);           1.8 295.00     0.00   531.00
               Draft e-mail to Floyd and Ed regarding discussion (0.20);
               Work on ballot report (0.80)
11/13/2010 KGB Work on ballot report                                             3.7   295.00   0.00 1091.50
11/15/2010 KGB Work on Ballot Report                                             0.4   295.00   0.00 118.00
11/15/2010 KGB Telephone call to Floyd regarding Thursday e-mail                 0.1   295.00   0.00   29.50
11/16/2010 KGB Telephone call to Floyd regarding Craig Ford ballot (0.10);       1.2   295.00   0.00 354.00
               Telephone call to Jennifer at Craig Ford (0.10); Receive
               and review Craig Ford's ballots (0.10); Finalize and file
               Ballot Report (0.90)
11/17/2010 KGB Review issues raised by Committee and review plan for             3.5 295.00     0.00 1032.50
               additional issues to address with Floyd (0.30); Telephone
               call to Floyd to discuss issues raised by Committee in depth
               (0.40); Draft proposed Stipulation to address same (2.80)
11/18/2010 KGB Prepare for confirmation hearing (0.90); Participate in plan      2.6 295.00     0.00   767.00
               confirmation hearing and related discussions with counsel

                                                                                                       Page: 4
     Case 2:09-bk-23468-DPC           Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32            Desc
                                      Main Document    Page 16 of 25
                 for the Committee and the United States Trustee's Office
                 (0.80), with travel (0.70); Exchange e-mails with counsel
                 for secured creditor Atwood regarding same (0.20)
11/22/2010 KGB   Receive and review late ballot accepting plan (0.10);              0.3 295.00   0.00     88.50
                 Evaluate effect on balloting (no effect on result; adds slightly
                 to dollars accepting class 6) (0.10); Update information for
                 eventual revised ballot report (0.10)
11/29/2010 KGB   Work on Stipulation, Amended Plan, and Supplemental                3.8 295.00   0.00 1121.00
                 Disclosure Statement
12/1/2010 KGB    Receive and review Weissman comments to amended plan;              0.2 295.00   0.00     59.00
                 Make indicated changes to Supplemental Disclosure
                 Statement, Plan, and Stipulation
12/3/2010 KGB    Telephone call to opposing counsel Albue regarding                 0.2 295.00   0.00     59.00
                 resolving Objections to Plan
12/7/2010 KGB    Voice message from Floyd regarding status of stipulation           0.2 295.00   0.00     59.00
                 with Committee; Return call to same (left message that I
                 returned call); Telephone call to Bryan Albue (he has not
                 heard feeback on my changes)
12/8/2010 KGB    Telephone conferences with Floyd regarding Brazil, plan            3.5 295.00   0.00 1032.50
                 amendments (0.30); Draft amended plan (0.50); Draft
                 declaration (0.80); Telephone conference with counsel for
                 Committee (0.20); Confirmation hearing, with travel (1.70)
12/15/2010 KGB   Telephone conference with Rick Cuellar regarding status of         0.2 295.00   0.00     59.00
                 plan, Committee oversight
12/22/2010 KGB   Telephone call to opposing counsel (voice message);                1.3 295.00   0.00   383.50
                 Telephone conference with same; Draft letter to Mr. Albue
                 regarding conditions for confirmation; Draft letter to Marsh
                 regarding expectations
12/27/2010 KGB   Telephone call to opposing counsel Bryan Albue (he will            0.2 295.00   0.00     59.00
                 call back today)
12/28/2010 KGB   Telephone call to Albue regarding letter from Creditors            0.9 295.00   0.00   265.50
                 Committee (voice message) [0.10]; Voice message from
                 Albue promising letter, and check for same [0.10]; Review
                 email and attached letter from Albue [0.20]; Forward email
                 to Floyd and call Terri with instructions to call Floyd and
                 request his review and return call [0.20]; Telephone
                 conference with Floyd re letter and possible
                 resolution[0.30]

12/28/2010 TT    Telephone call from Mr. Black regarding letter received            0.6 125.00   0.00     75.00
                 from the Creditor's Committee regarding resolution of Plan
                 objection and email to Mr. Stilwell; telephone call to Mr.
                 Stilwell to request that he review and contact Mr. Black by
                 cell phone. Telephone call from Mr. Black with further

                                                                                                        Page: 5
    Case 2:09-bk-23468-DPC           Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32              Desc
                                     Main Document    Page 17 of 25
                  instructions; telephone call to Mr. Stillwell to confirm
                  receipt of email; email and telephone call to Mr. Black
                  confirming same;
1/20/2011 KGB Telephone call to counsel for Committee                          1.3 295.00   0.00   383.50
1/21/2011 KGB Revise Stipulation (0.50); Revise Notice of Stipulation,         2.1 295.00   0.00   619.50
              Notice of Amendments to Plan of Reorganization,
              Supplemental to Disclosure Statement, Notice of Deadline
              to Change Ballots, and Notice of Continued Hearing on
              Plan Confirmation (1.20); Draft e-mail to Albue (0.10);
              Draft form of Order (0.20); Telephone call to Albue (0.10)
2/14/2011 KGB Telephone call to Mr. Albue (voice message)                      0.2 295.00   0.00     59.00
2/15/2011 TT Receive and review facsimile from Mr. Stillwell for Mr.           0.4 125.00   0.00     50.00
              Black for Stipulation with Committee; advise Mr. Black of
              same.
2/16/2011 KGB Review and work on projections for discussion with               4.0 295.00   0.00 1180.00
              opposing counsel Albue [1.10]; Telephone conferences
              with Floyd regarding same [0.40]; Continue work on
              projections [1.40]; Revise Stipulation [0.30]); Revise
              Notice [0.20]; Draft letter to Albue [0.60]
2/17/2011 KGB Receive and review e-mail from Floyd regarding                   1.2 295.00   0.00   354.00
              projections and attempt work on amending same (0.40);
              Telephone call to Floyd for clarification (0.20); Draft e-mail
              to Floyd for confirmation of amended projections (0.10);
              Revise letter and Notice (0.40); Fax letter, Stipulation and
              Notice (0.10)
2/21/2011 KGB Telephone call to Mr. Albue                                      0.1 295.00   0.00    29.50
2/22/2011 KGB Telephone conference with Albue regarding confirmation           2.2 295.00   0.00   649.00
              Stipulation [0.20]; Telephone conference with Floyd
              regarding requested disclosures [0.20]; Meet with Floyd at
              Marsh's facilities, with travel [1.80]
2/23/2011 KGB Receive and review e-mails from Floyd [0.20]; Telephone          0.7 295.00   0.00   206.50
              call to Floyd and receive permission to forward to Albue
              [0.10]; Forward e-mails [0.10] and call Albue [0.10];
              Telephone call to Albue regarding scheduling [0.10];
              Telephone conference with Floyd regarding same [0.10]
2/24/2011 KGB Telephone call to Mr. Albue                                      0.1 295.00   0.00    29.50
2/24/2011 KGB Conference call with Floyd, Committee and Committee              1.0 295.00   0.00   295.00
              Counsel (0.70); Send Stipulation and Notice to counsel for
              Committee (0.20); Telephone call to counsel for Committee
              regarding same (0.10)
3/1/2011 KGB Telephone call from Albue regarding confirmation issues           0.1 295.00   0.00     29.50
              (voice message); Return call to same
3/4/2011 KGB Exchange e-mails with Floyd regarding contract (0.10);            0.2 295.00   0.00     59.00
              Telephone calls to opposing counsel Albue (left voice
                                                                                                   Page: 6
     Case 2:09-bk-23468-DPC           Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32        Desc
                                      Main Document    Page 18 of 25
                 message) (0.10)
3/7/2011   TT    Telephone call from Mr. Black with instructions to contact     0.5 125.00   0.00     62.50
                 Mr. Stillwell with an update from communication from Mr.
                 Albue; regarding Plan objections; telephone call with Mr.
                 Stillwell regarding same; send e-mail to Mr. Black
                 regarding same.
3/11/2011 KGB    Receive and review e-mail and proposed Stipulation from        2.0 295.00   0.00   590.00
                 Albue (0.20); Forward to Floyd and call with brief
                 overview (0.10); Begin detailed review and comparison of
                 Albue's Stipulation to Marsh's previously proposed
                 Stipulation (1.50); Telephone conference with Floyd
                 regarding his review of Stipulation (0.20)
3/11/2011 TT     Receive voice message from Floyd Stillwell regarding           0.4 125.00   0.00     50.00
                 contact with Mr. Black to discuss potential Stipulation with
                 Crommittee; telephone call to Mr. Black and left voice
                 message; telephone call to Mr.Stilwell regarding same.
4/13/2011 KGB    Review proposed stipulation and Floyd's concerns (0.20);       0.7 295.00   0.00   206.50
                 Conference with Ms. Thompson regarding continued
                 hearing (0.10); Telephone call to Albue regarding
                 Stipulation (0.10); Telephone call to Floyd regarding
                 confirmation and Stipulation (0.10); Telephone call from
                 Albue regarding issues (0.20)
4/13/2011 TT     Conference with Mr. Black concerning continuing hearing        0.5 125.00   0.00     62.50
                 on plan confirmation. Telephone call to JA - left voice
                 message.
4/25/2011 KGB    Work on Stipulation to Confirmation of Plan (1.10); Draft      1.8 295.00   0.00   531.00
                 e-mail to Floyd with recommendations regarding same
                 (0.40); Telephone conference with Floyd regarding changes
                 (0.20); Draft e-mail to Albue (0.10)
4/26/2011 KGB    Telephone call to Albue regarding proposed revisions           0.1 295.00   0.00     29.50
                 (voice message) (0.10)
4/27/2011 KGB    Receive and review e-mail from Floyd regarding need for        0.2 295.00   0.00     59.00
                 hearing (0.10); Telephone call to opposing counsel (voice
                 message) and draft e-mail to opposing counsel regarding
                 same (0.10)
5/2/2011   KGB   Receive and review e-mail from Floyd regarding urgency         3.4 295.00   0.00 1003.00
                 (0.10); Telephone call to opposing counsel Albue (voice
                 message) (0.10); Telephone conference with Floyd
                 regarding new development (0.10); Telephone call to Albue
                 (direct and main numbers; in meeting; left voice message)
                 (0.10); Telephone conference with Albue regarding urgency
                 (0.10); Telephone calls to Floyd (voice message regarding
                 discussion with Albue) (0.10); Draft Motion for Expedited
                 Hearing (2.70); Draft e-mail to Floyd regarding Motion

                                                                                                    Page: 7
    Case 2:09-bk-23468-DPC          Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32           Desc
                                    Main Document    Page 19 of 25
                  (0.10)
5/4/2011    KGB Conference with Mr. Albue; Revise and finalize Motion,           2.1 295.00   0.00   619.50
                Notice and form of Order
5/5/2011    KGB Finalize and file motion and lodge order (0.50); Follow up       3.1 295.00   0.00   914.50
                on entry of order (0.30); Receive and review Order (0.20);
                Finalize Notice with hearing date (0.20); Serve Notice on
                ECF recipients (0.20); Telephone call to Floyd regarding
                receipt (voice message) (0.10) and forward copy of notice
                and order (0.10) Direct service on master mailing list
                (0.20); Review prior service list and update master mailing
                list with additional addresses for complete notice (1.3);
                Telephone conference with bankruptcy mailing provider
                regarding updated list (0.20)
5/6/2011    KGB Review e-mails from Floyd regarding order setting hearing        0.2 295.00   0.00     59.00
                on Plan (0.10); Telephone conference with Floyd regarding
                same and regarding Brazil (0.10)
5/9/2011    KGB Receive and review e-mail from Floyd regarding                   0.2 295.00   0.00     59.00
                confirmation of plan vs. effective date of plan and reply
                regarding same
5/12/2011   KGB Telephone call to Floyd regarding status of Brazil (still in     0.2 295.00   0.00     59.00
                progress, Brazil was happy with the hearing date, also
                interested in the fire fighting conversions) (0.10); Telephone
                call to Albue (voice message) (0.10
5/18/2011   KGB Voice message from opposing counsel Weissman regarding           0.4 295.00   0.00   118.00
                amended plan; Telephone call to Mr. Weissman regarding
                same and regarding Stipulation
5/25/2011   KGB Receive and review Supplemental Objection by                     0.3 295.00   0.00     88.50
                Committee; Telephone call to Mr. Albue regarding same
                (voice message)
5/31/2011   TT Conference with Mr. Black concerning preparation for              5.2 125.00   0.00   650.00
                Confirmation Hearing; Work on hearing preparations; pull
                all documents and prepare Indexes for same. Review
                emails and faxes concerning Brazil issue.
5/31/2011   KGB Review voice message from creditor regarding updated             2.6 295.00   0.00   767.00
                address and give directions to correct same [0.10]; Work
                on Atwood Stipulation [0.20]; Multiple telephone
                conferences with Albue regarding Stipulation to resolve
                Committee's objections [0.50]; Receive and review
                revisions by Albue [0.10]; Draft response to Albue with
                history of service of notice [0.20]; Draft e-mail to Floyd
                attaching and outlining proposed changes to Stipulation
                [0.10]; Receive and review e-mail from Floyd and
                telephone conference with same regarding language on
                conditions and other issues with Stipulation [0.20];

                                                                                                     Page: 8
    Case 2:09-bk-23468-DPC            Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32          Desc
                                      Main Document    Page 20 of 25
                 Telephone conferences with Ms. Thompson regarding
                 preparation for confirmation hearing [0.50]; Begin draft of
                 Supplemental Ballot Report [0.50]; File Certificate of
                 Service of Notice of Continued Hearing on Plan
                 Confirmation [0.20]
6/1/2011   TT    Continue to work on preparations for Confirmation             6.1 125.00   0.00   762.50
                 Hearing; review and organize Ballots to present to the
                 Court; pull several e-mails and faxes from and to Mr.
                 Stilwell concerning the Brazil contract. Scan and e-file
                 Proposed Order Confirming Reorganization Plan and
                 Notice of Lodging Proposed Order; e-mail copies of the
                 Supplemental Ballot and Notice of Lodging Order to all
                 parties listed on mailing certificate.
6/1/2011   KGB   Follow up on call regarding creditor maintenance [0.10];      5.4 295.00   0.00 1593.00
                 File previously-served Notice [0.10]; Finalize and file
                 Supplemental Ballot Report [0.40]; Draft revisions to
                 Stipulation and forward to Mr. Albue [0.30]; Telephone
                 conference with Mr. Albue regarding same [0.10]; Draft
                 Order [0.40]; Prepare exhibits and outline of relevant
                 pleadings for hearing [1.50]; Confirmation hearing, with
                 travel [2.50]
6/2/2011   KGB   Telephone call to Mr. Albue regarding Committee's final       0.9 295.00   0.00   265.50
                 decision (voice message) (0.10); voice message from Albue
                 (0.10) Receive and review e-mail from Albue with signed
                 Stipulation and forward to Floyd (0.10); Voice messages
                 from Floyd (0.10); Telephone conference with Floyd
                 regarding same (0.10); Telephone conference with Albue
                 regarding Order (0.40)
6/3/2011   KGB   File Stipulation to Confirmation                              0.3 295.00   0.00    88.50
6/6/2011   KGB   Receive and review proposed revisions to Order                1.2 295.00   0.00   354.00
                 Confirming Plan; Draft e-mail to Albue with changes;
                 Compare and correct revised Order; Telephone conference
                 with Albue regarding corrections; Receive and review
                 e-mail from Floyd regarding order; Reply to same
6/7/2011   KGB   Follow up with opposing counsel Albue regarding order         0.1 295.00   0.00     29.50
6/8/2011   TT    Mail Notice of Lodging Order to creditor Recovery             0.5 125.00   0.00     62.50
                 Management Systems Corporation..2
6/8/2011   KGB   Receive and review e-mail from Albue regarding approval       1.0 295.00   0.00   295.00
                 of Order (0.10); Telephone conference with same
                 regarding notice of lodging (0.10); Draft notice of lodging
                 and forward to Albue (0.20); Receive and review minute
                 entry and forward to Floyd (0.10); Telephone conference
                 with Albue, upload order and file notice of lodging (0.30);
                 Serve and direct service of notice of lodging (0.20)

                                                                                                   Page: 9
    Case 2:09-bk-23468-DPC          Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32          Desc
                                    Main Document    Page 21 of 25
 6/14/2011 KGB Receive and review order confirming Plan (0.10); Forward     0.2 295.00   0.00     59.00
                    to Floyd and telephone call to same (0.10)
        Total for B320                                                    102.1 256.51   0.00 26190.00
Grand Totals                                                              121.2 253.55   0.00 30717.25




                                                                                                Page: 10
     Case 2:09-bk-23468-DPC        Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32        Desc
                                   Main Document    Page 22 of 25
                                Exhibit B

Case 2:09-bk-23468-DPC   Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32   Desc
                         Main Document    Page 23 of 25
Project Category E101             Copying
 Date        Init. Narrative                                                       Hours Rate Discount Net Fee
 4/8/2011            Photocopy Expense                                              48.0 0.15     0.00    7.20
 6/1/2011            Photocopy Expense                                             987.0 0.15     0.00 148.05
         Total for E101                                                           1035.0 0.15     0.00 155.25
Project Category E102             Outside printing
 Date        Init. Narrative                                                      Hours Rate Discount Net Fee
 9/29/2010           Bankruptcy Mailing Service.com - Notice of Application         1.0 80.67    0.00  80.67
                     for Interim Payment & Compensation of Atty Fees &
                     Costs/App for Interim Payment and Compensation of Atty
                     Fees and Costs and For Order and Judgment Theron/
                     Postage
 10/19/2010          Bankruptcy Mailing Service.com - Class One Ballot for           1.0 303.38     0.00   303.38
                     Accepting or Rejecting Plan/Class Six Ballot for Accepting
                     or Rejecting Plan of reorganization/Disclosure Statement
                     Plan/Class Two Gallot for Accepting or Rejecting Plan of
                     Reorganization/Class Six Ballot for Accepting or Refecting
                     Plan of reorganization/ Discosure Statement Plan/Class
                     Three Ballot for Accepting or Rejecting Plan of
                     Reorganization/postage
 11/11/2010          Bankruptcy Mailing Service.com - Notice of Errata               1.0 71.04      0.00     71.04
                     regarding Marsh Aviation Company's Plan of
                     Reorganization Dated June 15, 2010 - 111 copies make of
                     2 pages
 5/5/2011            Bankruptcy Mailing Service.com - 123 Copies - Notice of         1.0 263.22     0.00   263.22
                     Continued Hearing, Notice of Deadline , Notice of Likely
                     Stipulation, Notice of Amendments to Plan of
                     Reorganization, Supplement to Disclosure Statement - on
                     05/05/11
         Total for E102                                                              4.0 179.58     0.00   718.31
Project Category E108             Postage
 Date        Init. Narrative                                                      Hours     Rate Discount Net Fee
 10/12/2010          Postage                                                        1.0   2.24       0.00    2.24
 11/4/2010           Postage                                                        1.0   2.24       0.00    2.24
 12/17/2010          Postage                                                        1.0   2.24       0.00    2.24
 1/6/2011            Postage                                                        1.0   2.24       0.00    2.24
 3/14/2011           Postage                                                        1.0   0.44       0.00    0.44
 4/8/2011            Postage                                                        1.0   2.07       0.00    2.07
 4/8/2011            Postage                                                        1.0   0.44       0.00    0.44
 6/8/2011            Postage                                                        1.0   0.64       0.00    0.64
         Total for E108                                                             8.0     1.57     0.00  12.55



                                                                                                           Page: 1
      Case 2:09-bk-23468-DPC           Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32               Desc
                                       Main Document    Page 24 of 25
Project Category    E109        Local travel
 Date        Init.  Narrative                                                Hours Rate Discount Net Fee
 1/4/2011           Mr. Kelly G. Black - Expense Reimbursement for mileage     1.0 19.10    0.00  19.10
                    from JW to US Bankruptcy Court for Confirmation
                    Hearing
 1/4/2011           Mr. Kelly G. Black - Expense Reimbursement for parking      1.0 2.00    0.00      2.00
                    at bankruptcy Court
 6/1/2011           Mr. Kelly G. Black - Expense Reimbursement for mileage      1.0 19.10   0.00     19.10
                    from JW to US Bankruptcy Court for Confirmation
                    Hearing
 6/1/2011           Mr. Kelly G. Black - Expense Reimbursement for parking      1.0 2.00    0.00      2.00
                    at bankruptcy Court
        Total for E109                                                          4.0 10.55   0.00    42.20
Grand Totals                                                                 1051.0 0.88    0.00   928.31




                                                                                                   Page: 2
      Case 2:09-bk-23468-DPC         Doc 122 Filed 07/14/11 Entered 07/14/11 18:20:32         Desc
                                     Main Document    Page 25 of 25
